Case No. 1:25-cv-00895-RTG   Document 4-8   filed 03/19/25   USDC Colorado   pg 1
                                    of 18
Case No. 1:25-cv-00895-RTG   Document 4-8   filed 03/19/25   USDC Colorado   pg 2
                                    of 18
Case No. 1:25-cv-00895-RTG   Document 4-8   filed 03/19/25   USDC Colorado   pg 3
                                    of 18
Case No. 1:25-cv-00895-RTG   Document 4-8   filed 03/19/25   USDC Colorado   pg 4
                                    of 18
Case No. 1:25-cv-00895-RTG   Document 4-8   filed 03/19/25   USDC Colorado   pg 5
                                    of 18
Case No. 1:25-cv-00895-RTG   Document 4-8   filed 03/19/25   USDC Colorado   pg 6
                                    of 18
Case No. 1:25-cv-00895-RTG   Document 4-8   filed 03/19/25   USDC Colorado   pg 7
                                    of 18
Case No. 1:25-cv-00895-RTG   Document 4-8   filed 03/19/25   USDC Colorado   pg 8
                                    of 18
Case No. 1:25-cv-00895-RTG   Document 4-8   filed 03/19/25   USDC Colorado   pg 9
                                    of 18
Case No. 1:25-cv-00895-RTG   Document 4-8 filed 03/19/25   USDC Colorado   pg
                                  10 of 18
Case No. 1:25-cv-00895-RTG   Document 4-8 filed 03/19/25   USDC Colorado   pg
                                  11 of 18
Case No. 1:25-cv-00895-RTG   Document 4-8 filed 03/19/25   USDC Colorado   pg
                                  12 of 18
Case No. 1:25-cv-00895-RTG   Document 4-8 filed 03/19/25   USDC Colorado   pg
                                  13 of 18
Case No. 1:25-cv-00895-RTG   Document 4-8 filed 03/19/25   USDC Colorado   pg
                                  14 of 18
Case No. 1:25-cv-00895-RTG   Document 4-8 filed 03/19/25   USDC Colorado   pg
                                  15 of 18
Case No. 1:25-cv-00895-RTG   Document 4-8 filed 03/19/25   USDC Colorado   pg
                                  16 of 18
Case No. 1:25-cv-00895-RTG   Document 4-8 filed 03/19/25   USDC Colorado   pg
                                  17 of 18
Case No. 1:25-cv-00895-RTG   Document 4-8 filed 03/19/25   USDC Colorado   pg
                                  18 of 18
